Case: 23-30726            Document: 70-1        Page: 1      Date Filed: 08/21/2024




           United States Court of Appeals
                for the Fifth Circuit
                                   ____________
                                                                            United States Court of Appeals
                                                                                     Fifth Circuit
                                     No. 23-30726
                                   ____________                                    FILED
                                                                             August 21, 2024
United States of America,                                                     Lyle W. Cayce
                                                                                   Clerk
                                                                   Plaintiff—Appellee,

                                          versus

Avery A. Goins,

                                            Defendant—Appellant.
                   ______________________________

                   Appeal from the United States District Court
                      for the Western District of Louisiana
                            USDC No. 3:22-CR-185-1
                   ______________________________

Before Southwick, Haynes, and Douglas, Circuit Judges.
Per Curiam: *
       Avery A. Goins pled guilty to wire and bankruptcy fraud in violation
of 18 U.S.C. §§ 1343 and 157(1)-(2), respectively, and was sentenced to sixty
months of imprisonment with three years of supervised release. On appeal,
Goins argues that the district court clearly erred by applying a two-level
enhancement under United States Sentencing Guideline § 2B1.1(b)(10)(C)



      _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                        No. 23-30726


for using sophisticated means.             For the reasons set forth below, we
AFFIRM.
                                   I.     Background
        Goins is the owner and sole employee of a car dealership, 2nd Chance
Auto, LLC, which he used to perpetuate the wire and bankruptcy fraud
scheme. The wire fraud scheme worked as follows. Goins opened two bank
accounts under 2nd Chance Auto, LLC’s name—one with Regions Bank and
the other with JPMorgan Chase. He then applied for a merchant account
with Elavon, Inc., a credit card processing company, under 2nd Chance Auto,
LLC’s name. 1 The Elavon account was tied to 2nd Chance Auto, LLC’s
Regions Bank account. Then, over the course of about a month, Goins
conducted over thirty unauthorized credit card transactions at 2nd Chance
Auto, LLC, totaling $138,800. 2 To prevent the recovery of the funds through
chargebacks, Goins would then transfer funds from the Regions Bank
account into the JPMorgan Chase account linked to 2nd Chance Auto, LLC.
To further conceal the fraud, Goins also spoke with representatives of Elavon
by phone regarding the chargebacks to his account and claimed 2nd Chance
Auto, LLC had made sales in exchange for each of the credit card charges.



        _____________________
        1
          A credit card processing company, like Elavon, operates as an intermediary
between a merchant and the financial institution that issues a customer’s credit card. When
a customer makes a credit card purchase, the credit card data is relayed to the credit card
processor—in this case, Elavon—which then sends this data to the financial institution to
determine if the customer has sufficient credit for the purchase. The financial institution
then transmits the approval to the processor, which authorizes the purchase and deposits
the funds in the merchant’s account.
        2
          For instance, Goins, for one such transaction, charged $4,200 to a Florida
resident’s credit card for the purported sale of a vehicle even though Goins did not have
authorization from the resident, nor did he sell him a vehicle.




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                                 No. 23-30726


Ultimately, Elavon suffered a loss of approximately $40,700 before closing
Goins’ merchant account.
       Regions Bank also suffered a $50,000 loss from Goins’ misconduct.
Soon after Goins conducted the unauthorized credit card transactions at 2nd
Chance Auto, LLC, he deposited two counterfeit checks totaling $160,000
into the Regions Bank account for 2nd Chance Auto, LLC. These checks
purportedly represented the proceeds from the sale of over ten vehicles to a
Canadian purchaser. Goins withdrew the money from the account the next
day, before Regions Bank realized the checks were counterfeit.
       A few months later, Goins filed for Chapter 7 bankruptcy. He claimed
that he filed for bankruptcy because the alleged Canadian buyers wrote him a
worthless check, and that the vehicles could not be recovered because they
were already in Canada. During Goins’ bankruptcy proceedings, he did not
disclose his debts owed to Elavon and Regions Bank. Goins also failed to
disclose the assets in the name of 2nd Chance Auto, LLC contained in the
JPMorgan Chase account. He also falsely claimed that 2nd Chance Auto,
LLC had approximately $71,000 in monthly expenses, making it appear that
he was eligible for a Chapter 7 discharge. Additionally, Goins testified that
he had not filed tax returns for 2017 or 2018, but that he was in the process of
doing so. The United States Trustee never received any documentation
regarding the sale of the vehicles to the Canadian buyers or Goins’ tax
returns. If Goins’ bankruptcy claim had been successful, he would have been
relieved of $457,021.87.
       Goins pleaded guilty, pursuant to a written plea agreement, to one
count of wire fraud and one count of bankruptcy fraud. As calculated in the
presentence investigation report, Goins’ total offense level was 26, which
included a two-level enhancement pursuant to § 2B1.1(b)(10)(C) because
“the offense involved sophisticated means and the defendant intentionally




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                                      No. 23-30726


engaged in or caused the conduct constituting sophisticated means.” Over
Goins’ objection to the application of § 2B1.1(b)(10)(C), the district court
applied    the   enhancement.            The    district   court   explained   that
§ 2B1.1(b)(10)(C) applies to “complex, intrinsic efforts to commit or conceal
a crime. Hiding assets or transactions or both through the use of entities,
shell corporations or corporate shell corporations or offshore accounts fits;
but also [the] intent to deceive somebody . . . basically that it makes the
offense more difficult to be detected. And which I find in this case [the
offense] meets the sophisticated means” enhancement. Goins renewed his
objection. He was sentenced to sixty months of imprisonment and three
years of supervised release. Goins filed a timely notice of appeal.
                   II.    Jurisdiction &amp; Standard of Review
       The district court had subject matter jurisdiction under 18 U.S.C.
§ 3231. We have jurisdiction under 18 U.S.C. § 3742(a) and 28 U.S.C.
§ 1291.
       “We review the district court’s factual finding that [a defendant] used
sophisticated means to impede discovery of his offense for clear error.”
United States v. Clements, 73 F.3d 1330, 1340 (5th Cir. 1996). “We will not
find a district court’s ruling to be clearly erroneous unless we are left with the
definite and firm conviction that a mistake has been committed.” Id.(quotation omitted).
                               III.      Discussion
       Goins challenges the district court’s application of the sophisticated
means enhancement under § 2B1.1(b)(10)(C). 3 He contends that he did not
       _____________________
       3
         The Sentencing Guidelines recommend a two-level increase if “the offense
otherwise involved sophisticated means and the defendant intentionally engaged in or
caused the conduct constituting sophisticated means.” U.S. Sent’g Guidelines
Manual § 2B1.1(b)(10)(C). The commentary defines “sophisticated means” as




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                                         No. 23-30726


use shell corporations, offshore accounts, or other methods to make
detection of his fraud more difficult. Instead, he maintains that his conduct
is similar to the defendant’s conduct in United States v. Valdez, 726 F.3d 684(5th Cir. 2013), where we held that the district court clearly erred by applying
the enhancement. 726 F.3d 684, 695 (5th Cir. 2013). We disagree.
        This is not a case like Valdez, where the defendant simply “took
money directly deposited” into his account and moved the funds into another
account under his name. Id. (“[T]here is no indication that this open and
transparent direct deposit and movement of funds involved sophisticated
means or could have made it more difficult for his offense of health care fraud
to be detected.”). Rather, the means Goins used to perpetuate the fraud,
when considered together, were more advanced. See United States v. Miller,
906 F.3d 373, 380 (5th Cir. 2018) (“We have affirmed the application of the
sophisticated means enhancement in cases involving some method that made
it more difficult for the offense to be detected, even if that method was not
by itself particularly sophisticated.” (internal quotation marks and citation
omitted)).
        Goins used his car dealership to lend the appearance of legitimacy to
the unauthorized credit card transactions and bankruptcy filing. Not only did
Goins mislead Evalon by representing that the credit card transactions were
for the sale of vehicles and thus dispute the chargebacks, but Goins also
thwarted any recovery of the funds through chargebacks as well when he

        _____________________
“especially complex or especially intricate offense conduct pertaining to the execution or
concealment of an offense.” Id. at cmt. n.9(B). The commentary further explains that “in
a telemarketing scheme, locating the main office of the scheme in one jurisdiction but
locating soliciting operations in another jurisdiction ordinarily indicates sophisticated
means” and that “[c]onduct such as hiding assets or transactions, or both, through the use
of fictitious entities, corporate shells, or offshore financial accounts [ ] ordinarily indicates
sophisticated means.” Id.



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                                 No. 23-30726


moved the funds to 2nd Chance Auto, LLC’s JPMorgan Chase account. By
doubling down on the legitimacy of the charges, Goins impeded discovery of
his fraud. He even went as far as depositing two counterfeit checks worth
$160,000 for purported car sales into the Regions Bank account for 2nd
Chance Auto, LLC to further enhance the legitimacy of the scheme. Goins
continued to use the car dealership to perpetuate the bankruptcy fraud as
well. He misrepresented his impetus for filing bankruptcy, claiming it was
because the alleged Canadian buyers wrote him a worthless check, and
further misrepresented 2nd Chance Auto, LLC’s monthly expenses, making
it appear that he was eligible for a Chapter 7 discharge. 2nd Chance Auto,
LLC’s two bank accounts also facilitated his failure to disclose the assets in
the JPMorgan Chase account.
       This conduct, viewed in its entirety, is similar to other acts that we
have held support the enhancement. See United States v. Wright, 496 F.3d
371, 378–79 (5th Cir. 2007) (upholding enhancement where defendant used
fraudulent cashier’s checks to help borrowers falsely appear creditworthy);
United States v. Clements, 73 F.3d 1330, 1340 (5th Cir. 1996) (affirming
enhancement where defendant used cashier’s checks and a separate bank
account that made it more difficult for the Government to detect tax
evasion); United States v. Malfitano, 690 F. App’x 218, 219 (5th Cir. 2017)
(per curiam) (affirming enhancement where, although the defendant
provided his true identity, “he attempted to avoid detection and to conceal
the fraudulent nature of the transactions at issue, and he attempted to
legitimize the proceeds distributed to him through his company”).
Accordingly, it was not clearly erroneous for the district court to conclude
that Goins’ overall conduct warranted the sophisticated means
enhancement.
                                IV.       Conclusion




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                            No. 23-30726


     For the reasons set forth above, we AFFIRM.




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